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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:07cr58
                                                  §            (Judge Schell)
 DLANCE KEITH JONES (4)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on September 28, 2010, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Jay

 Combs.

        On April 16, 2008, Defendant was sentenced by the Honorable Richard A. Schell to twenty-

 four (24) months’ custody followed by three (3) years of supervised release for the offense of

 Possession with Intent to Distribute Cocaine Base. On September 4, 2009, Defendant completed his

 period of imprisonment and began service of his supervised term.

        On September 2, 2010, the U.S. Pretrial Services Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated various mandatory,

 standard, and special conditions. Violation allegations two, three, and four were dismissed by the

 Government. The petition also alleged violation of the following additional mandatory condition:

 the defendant shall refrain from any unlawful use of a controlled substance. The defendant shall

 submit to one drug test within 15 days of release from imprisonment and at least two periodic drug

 tests thereafter, as directed by the probation officer. The petition also alleged violation of the

 following additional standard condition: the defendant shall refrain from excessive use of alcohol
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     and shall not purchase, possess, use, distribute, or administer any controlled substance, or any

     paraphernalia related to any controlled substances, except as prescribed by a physician.

            The petition alleges that Defendant committed the following acts with regard to the

     remaining violations: (1) Defendant submitted a urine specimen on January 5, 2010, that tested

     positive for cocaine and marijuana, which was confirmed by Kroll Laboratories; (2) Defendant

     submitted urine specimens on February 2, 2010, and March 17, 2010, that tested positive for

     marijuana, which were confirmed by Kroll Laboratories; and (3) Defendant submitted a urine

     specimen on August 11, 2010, that tested positive for marijuana, which was confirmed by Alere.

            Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violations.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of seven (7) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons, Seagoville Unit.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
             SIGNED this 30th day of September, 2010.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES MAGISTRATE JUDGE
